                         UNITED STATES BANKRUPTCY COURT
                          EASTERN DISTRICT OF MICHIGAN
                               SOUTHERN DIVISION

In the Matter Of:

SHERAFGUN BHATTI &                              Case No.: 14-51514-PJS
IRAM NAZIR                                      Chapter 7
                                                Honorable PHILLIP J. SHEFFERLY

_______Debtor (s)__________/


                         NOTICE OF UNCLAIMED DIVIDENDS

TO THE CLERK OF THE COURT:

       The attached check in the amount of $22,109.31 represents the total sum of
unclaimed dividends in this estate to date and is paid to the Court pursuant to 11 U.S.C.
§347(a). The name(s) and address(es) of the Party(ies) entitled to these unclaimed
dividends is (are) as follows:


CREDITOR NAME                                    CLAIM NO:          AMOUNT OF
                                                                    DIVIDEND

SHERAFGUN BHATTI & IRAM NAZIR                               N/A              $22,109.31
                                                     (RETURN OF
                                                  SURPLUS FUNDS
                                                    TO DEBTORS)



Dated: June 15, 2020
                                                /s/ WENDY TURNER LEWIS____
                                                Chapter 7 Trustee
                                                444 W. Willis, Suite 101
                                                Detroit, MI 48201
                                                313/832.5555
                                                wtlewis@ameritech.net
                                                P39505




  14-51541-pjs      Doc 81   Filed 06/15/20   Entered 06/15/20 19:18:32   Page 1 of 1
